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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


HECTOR MORALES,              )
                             )
    Plaintiff,               )
                             )
v.                           )                        Civil Action No. 1:20-cv-11434-NMG
                             )
FEDERAL EXPRESS CORPORATION, )
                             )
    Defendant.               )


                DEFENDANT’S REPLY TO PLAINTIFF’S OPPOSITION
               TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT


        Defendant Federal Express Corporation (“FedEx”), pursuant to Rule 56 of the Federal

Rules of Civil Procedure and Local Rule 56.1, submits this Reply to Plaintiff’s Opposition to

Defendant’s Motion for Summary Judgment.

A.      Morales Cannot Establish Pretext.

        1.     Morales Cannot Show FedEx’s Reasons for His Termination Were False.

        In response to FedEx’s Motion for Summary Judgment, Plaintiff Hector Morales

(“Morales”) argues that “[a]ny claim that the actions for which [he] was disciplined were the

reason for [his] termination, is clearly just a pretext.” To establish pretext under M.L.C. c.151B,

Morales must show that FedEx’s articulated reasons for terminating his employment were false.

See Dacunha v. Skip Sagris Enterprises, Inc., 2020 WL 5217059 at *4 (D. Mass. Aug. 31, 2020).

A review of the record, however, reveals that the nondiscriminatory reasons given for Morales’

termination in his termination letter are fully supported by the undisputed facts, including Morales’

own deposition testimony.




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          The following statements of the reasons for Morales’ termination are taken directly from

the termination letter (Morales Dep. Exhibit 12), and are supported by the undisputed facts of this

case 1:

               •   On 07/26/2017, outside in the parking lot of our facility you were observed
                   having a heated argument with someone you know in front of the employee
                   entrance. – This sentence is supported by SOF 23: “Morales testified during his
                   deposition that he and Gumbs became involved in a heated argument a few feet
                   away from the employee entrance of the FedEx building and approximately 100
                   feet from the customer entrance of the building. (Morales Dep. 159:23-161:4).”

               •   Managers were made aware of the argument and went outside to diffuse the
                   situation. – This sentence is supported by SOF 24: “…I just remember that, you
                   know, the managers came out…Pat Crowley…Karrie…and I think Mark O’Brien
                   came out. (Morales Dep. 161:5-163:20).” This sentence is also supported by SOF
                   26: “Manager Pat Crowley approached Morales and Gumbs in the parking lot, and
                   told Gumbs to leave, and asked Morales if he was okay. (Morales Dep. 173:6-21).”

               •   Once the other individual had exited the FedEx parking lot, station
                   management attempted to interview you to determine what exactly had
                   transpired, and if there was any further threat to you or the employees of the
                   station. You ignored managements repeated request to speak to them, became
                   disruptive and refused to answer questions or follow any of management
                   requests. – These sentences are supported by SOF 27: “As Morales started walking
                   back into the building, Manager Crowley began asking Morales questions about
                   what was going on between him and Gumbs, and why they were involved in a
                   heated argument in the parking lot, but Morales ignored his questions. (Morales
                   Dep. 174:16-176:25).” They are also supported by SOF 28: “As Crowley and other
                   Managers questioned Morales about what had happened in the parking lot to assess
                   any potential danger to Morales or other employees at the station, Morales
                   continued telling them it was a ‘personal issue’ and provided them with no further
                   details. (Morales Dep. 178:13-179:13).”

          In “Plaintiff’s Statement Pursuant to Local Rule 56.1 of Material Facts of Record as to

    Which There Exists a Genuine Issue to be Tried,” Morales states that he disputes SOF 28, but

    does not contest the deposition testimony supporting SOF 28. Instead, Morales merely states:

    “DISPUTED. The nature of the July 26, 2017 incident is described by Plaintiff under oath in



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  Of the SOF’s cited by FedEx in this Reply Memo, Morales only disputes SOF 28. See Plaintiff’s Statement Pursuant
to Local Rule 56.1 of Material Facts, DE 37, PageID# 1.

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    his Charge of Discrimination at pages 2-3.…” This denial and reference to Morales’ Charge

    of Discrimination does not change Morales’ deposition testimony supporting SOF 28:

            Q Okay. But isn’t it true that you kept saying that it was a personal issue and none of
            FedEx’s business. Is that correct?

            A Yeah. I mean, it was a personal matter, and like I said, the guy came on my job
            unannounced. I didn’t even know he was there. So I – and I told Karrie, I told Karrie,
            like you know, ‘It’ a personal issue that I’m dealing with. It has to do with money. I’m
            taking him to court, and the guy showed up unannounced to – pretty much threaten me
            and say whatever he had to say to me, and that’s that.’ You know?

            (Morales Dep. 178:13-179:13).

        Morales’ attempt to create a factual disparity by relying on the narrative from his charge

    of discrimination, which conflicts with his deposition testimony, is unavailing. It is axiomatic

    in the First Circuit that a party cannot create an issue of fact to survive summary judgment

    simply by contradicting his own sworn testimony. See Pena v. Honeywell Internat’l, Inc., 923

    F.3d 18, 30 (1st Cir.) (rejecting the plaintiff’s attempt to create a genuine issue of fact by

    submitting an affidavit “in obvious conflict” with her own deposition testimony).

        •      Upon completion of our investigation, it was determined that your conduct was in
               violation of the Acceptable Conduct Policy (P2-5), a copy of which is attached for
               your review. – This sentence is supported by SOF 20: “On July 26, 2017, Morales was
               suspended with pay by Manager Karrie Schaubroeck, pending an investigation of an
               incident that occurred at the Boston BVYA facility that day. (Morales Dep. 156:17-
               157:3, Exhibit 10).”

        •      As a result of your behavior history, your employment is being terminated
               effective 7/31/2017. – This sentence refers to Morales’ disciplinary history, described
               in SOF’s 6 – 18, which shows that Morales exhibited a well-documented pattern of
               disruptive behavior in violation of FedEx’s Acceptable Conduct Policy (P2-5) dating
               back to November 2015, when he received a warning letter for failing to follow
               management’s directives and being involved in a verbal altercation with a manager.
               (SOF 8). Subsequently, in May 2016, Morales received another warning letter after
               creating a disturbance in the lobby of one of FedEx’s hotel customers, which resulted
               in Morales being escorted out by hotel security, and later returning to the hotel to
               confront its employees about the hotel’s complaint. (SOF 15). Finally, in July 2017,
               Morales engaged in a heated altercation with a man who owed him money on FedEx
               premises. And, despite acknowledging that the man threatened him and may have been


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               armed, Morales ignored FedEx management’s legitimate safety concerns and questions
               about the altercation, maintaining it was a “personal issue.” (SOF 27, 28). It was this
               pattern of behavior that led to Morales’ termination, as clearly articulated in the
               termination letter. (Morales Dep. Exhibit 12).

        Nothing in the record indicates FedEx manufactured its stated reasons for Morales’

termination. The amount of credible evidence supporting the nondiscriminatory reasons for

Morales’ termination is plentiful. Thus, the burden shifted to Morales to show the motivation for

his termination was discriminatory, which he has failed to do.

        2.        Allegations that O’Brien Called Morales “Gonzalez” Are Not Probative of
                  Pretext.

        Without citing any authority, Morales also argues that allegedly being called “Gonzalez”

several times per week by Manager O’Brien proves that the reasons given for the termination of

his employment were pretext for race discrimination. See Plaintiff’s Response in Opposition, DE

36, PageID# 18. Merely being called the wrong name by a person who was not responsible for

the adverse employment action is not probative of pretext.

        The Court’s analysis in Beltran v. Univ. of Texas Health Science Center at Houston, 837

F.Supp.2d 635 (S.D. Tex. 2011), is instructive. There, the plaintiff who was terminated from the

defendant state university medical center’s surgical residency alleged the defendant’s reason for

his termination—failure to demonstrate necessary academic knowledge and clinical skill—was

pretext for discrimination based on his Hispanic race. As evidence of pretext, he offered that he

was subjected to a “pattern of ‘racial disrespect,’” including being “misidentified… ‘with a variety

of Latino names ranging from Juan to Luis to Alex.’” Id. at 644. The Court found the plaintiff

could not rebut the defendant’s legitimate, non-discriminatory reasons for his termination because:

(1) he failed to allege that he was called the incorrect name at or around the time of his termination,

(2) he failed to show that being called the wrong name in any way related to the adverse action,



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and (3) he failed to show that the person to whom the name-calling was attributed recommended

the termination or otherwise participated in the decision making process.

        Similarly, Morales’ testimony that O’Brien called him “Gonzalez” is insufficient to

establish that FedEx’s articulated reason for his termination was pretext. Here, it is undisputed

that O’Brien was not Morales’ manager at any time relevant to this lawsuit and that O’Brien did

not make the decision to terminate his employment. (SOF 36; Morales Dep. Exhibit 12). And,

even if FedEx were aware of the alleged name-calling, Morales has presented no evidence that the

actual decisionmaker—Manager Karrie Schaubroeck—relied on information from O’Brien or

anyone else who may have had discriminatory animus against him in terminating him. Finally,

there is no proof that O’Brien called him “Gonzalez” under circumstances related to the July 27,

2017 altercation, and his subsequent termination. Without evidence that the alleged disparaging

remarks were made in close temporal proximity to the adverse action, that they were related to the

employment decision in question, or that they were made by a decisionmaker, the probative value

of such stray remarks as it relates to the pretext inquiry is circumscribed. See Bonefont-Igaravidez

v. Internat’l Shipping Corp., 659 F.3d 120, 125 (1st Cir. 2011).

        3.     Morales Cannot Use Manager O’Brien as a Comparator to Prove Pretext.

        Morales insists he is “absolutely not required” to analyze the treatment of comparators to

show a causal connection between his race and the employment practices of which he complains.

See Plaintiff’s Response in Opposition, DE 36, Page ID# 9. But he bases his pretext argument in

large part on the assertion that Manager O’Brien’s alleged assault of him “bears upon the validity

of [FedEx’s] claim that [he] was fired for his conduct, as well as whether this claim was merely a

pretext, and whether [Morales] was being held to a different disciplinary standard than a White

employee who had engaged in substantially more serious misconduct, Manager O’Brien.” Id. at



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PageID# 17. In effect, Morales offers O’Brien as a comparator. As a matter of law, this

comparison is inapposite.

        Where Morales chooses to establish pretext using comparators, he bears the burden of

producing evidence to show that similarly situated individuals outside his protected category were

treated differently (emphasis added). See Matthews v. Ocean Spray Cranberries, Inc., 686 N.E.2d

1303, 1309 (Mass. 1997); see also, Bratton v. CSX Transp., Inc., 586 F.Supp.2d 12, 19 (D. Mass.

2008) (granting the employer’s motion for summary judgment on the plaintiff’s c.151B claim

where he failed to “come forward with specific, detailed evidence required by established law to

prove that [his] twelve [alleged comparators] were similarly situated to him”). To do so, Morales

must “identify and relate specific instances where persons similarly situated ‘in all relevant

respects’ were treated differently.” See Matthews, 686 N.E.2d at 1310. In considering whether

alleged comparators are similarly situated, Massachusetts courts may consider, among other

things, the terms of their performance, qualifications and conduct; any differentiating or mitigating

circumstances that would distinguish their situations; and whether the offenses are of comparable

seriousness. Id.

        Morales fails to meet his burden of production to show with specific, detailed evidence that

O’Brien is similarly situated to him. It is undisputed that FedEx terminated Morales’ employment

for a pattern of disruptive behavior that culminated in the July 27, 2017 altercation in the FedEx

parking lot. However, he has presented no evidence that O’Brien had a similar pattern of behavior

or disciplinary history or that O’Brien was otherwise similar to him in any relevant respect.

        More fundamentally, Morales admits he and O’Brien are not similarly situated in a material

way—i.e. in terms of their qualifications and responsibilities. That is, he admits that O’Brien was

a manager, not an hourly employee like him, at all times relevant to this lawsuit. See Plaintiff’s



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Response in Opposition, DE 36, Page ID# 17 (“Was Mr. O’Brien a manager and Mr. Morales not

a manager?     Yes.”).   “Two employees are not similarly situated where their duties and

responsibilities are not the same or at least comparable.” Williams v. Frank, 757 F.Supp. 112, 118

(D. Mass. 1991) (“Clearly, there can be no comparison drawn between plaintiff, a window

distribution clerk…and Karavetsos who is …a manager…”). Thus, O’Brien is not an appropriate

comparator and may not be used to establish pretext here.

B.      Morales Does Not Deny His §1981 Claim is Subject to FedEx’s Contractual
        Limitations Provision and the Cases Cited in Support of his c.151B Claims Do Not
        Support His Position.

        Morales admits he signed FedEx’s standard “Employment Agreement,” which contains a

provision requiring him to file suit on any claim arising out of his employment within 6 months.

(SOF 2,3.). In its motion for summary judgment, FedEx argued that his claims under §1981, which

does not require exhaustion of any administrative remedies prior to filing suit, should be dismissed

as untimely based on this contractual limitations provision. See Defendant’s Memorandum in

Support of Its Motion for Summary Judgment, DE, PageID# 8,9.

        Though Morales argues that dismissal of his c.151B claims pursuant to the Employment

Agreement would offend Massachusetts public policy, he offers no response to FedEx’s argument

regarding his §1981 claims. In fact, the only reference he makes to his §1981 claims is that they

are subject to a 4-year statute of limitations. See Plaintiff’s Response in Opposition, DE 36,

PageID# 13. By failing to address FedEx’s argument, he waived any opposition on this issue, and

his §1981 claims should be dismissed as untimely. See e.g., Frady v. C.R. Bard, Inc., 2020 WL

2079511 at *3 (D. Mass. Apr. 30, 2020) (finding the plaintiff waived several claims by failing to

address them in her opposition to the defendant’s motion for summary judgment).




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        It also bears note that the authority Morales cites in favor of his argument that the

contractual limitations provision is ineffective as to his c.151B state-law claims does not support

his position. Particularly, Logan v. MGM Grand Detroit Casino, 939 F.3d 824 (6th Cir. 2019)

involved a claim under Title VII, not state law or §1981. And, in Thompson v. Fresh Products,

LLC, 985 F.3d 509 (6th Cir. 2021), the Court held that the limitations periods for the plaintiff’s

ADA disability and ADEA age claims were not waivable by contract. However, the Court held

the employer’s 6-month contractual limitations provision, similar to the one at issue, was valid as

to her state-law claims brought under the Ohio Civil Rights Act. Id. at 521-22.

        Additionally, his reliance on Warfield v. Beth Israel Deaconess Medical Center, 910

N.E.2d 317 (Mass. 2009) as the lynchpin of his public policy argument is similarly inapposite.

There the Court held that the defendant employer’s arbitration clause, stating that “[a]ny claim,

controversy or dispute arising out of or in connection with this Agreement or its negotiations shall

be settled by arbitration,” was “insufficiently clear” to require the plaintiff to arbitrate her c.151B

claims because when “[r]ead as a whole, the contract language…suggests an intent to arbitrate

disputes that might arise from or be connected to the specific terms of the [employment] agreement

itself” (emphasis added). Id. at 328.

        FedEx’s limitations provision to which Morales agreed contains no such ambiguity.

Rather, it clearly provides that he must bring “[a]ny claim within the time period provided by law

or no later than six (6) months from the date of the event forming the basis of [his] claim”

(emphasis added). See SOF 2. Unlike the Warfield provision, it does not suggest that its

application is limited to disputes over the terms of the Employment Agreement itself. Thus, it is

broad enough to encompass “any claim” arising from his employment with FedEx. Moreover,

Warfield does not stand for the proposition that a contractual limitations provision must



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specifically reference c.151B to be effective as Morales suggests. On the contrary, “the [Supreme

Judicial Court] pointed out that its holding ‘should not be understood to suggest that parties

entering into an employment (or any other) contract must specifically list every possible statutory

claim that might arise or else the claim will not be covered by an otherwise broad arbitration

clause.” See Barasso v. Macy’s Retail Holdings, Inc., 2016 WL 1449567 at *9 (D. Mass. Apr. 12,

2016) (finding Warfield did not bar enforcement of the parties’ arbitration agreement as to the

plaintiff’s c.151B claims). Where, as here, an “otherwise broad” limitations provision “clearly

and unmistakably” encompasses such claims within its purview, Warfield is satisfied. Id.

C.      Morales’ Retaliation Claim Fails Because He Cannot Establish a Causal Connection.

        Morales also argues that alleged complaints he made about O’Brien’s conduct to a FedEx

human resources representative and other managers constituted protected activity for which he

suffered retaliation (i.e. termination). But, even if Morales can demonstrate he made complaints

of racial discrimination against O’Brien prior to his termination, he has failed to establish a causal

connection between those complaints and the adverse action. Certainly, the timing of those

complaints is uncertain as evidenced by his deposition testimony quoted below:

        Q Okay. So who did you complain to and when?

        A I mean I can’t recall the specific dates, ‘cause like I said, its been a while. But like I
        said, I have went to Jim Kelly about it. I went to Karrie. I have have went to Gately about
        it. I had went too Pat Crowley about it, like – like the one time, like, it was probably towards
        the end. You know, I I had brought it to Edwin’s attention before – like, every manager
        that knows the situation, like, that I’ve been going through with him, like, I have brought
        it to all their attention.

(Morales Dep. 222:20 – 223:5) (emphasis added).

        Q Okay. But you keep on referring to an email. Who did you email and when?

        A Perry Jenkins. I don’t remember the exact dates, but there was – there’s a bunch of e-
        mail – like there’s emails that I’ve sent to him, more than once…



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        Q Was it after your termination you sent these emails?

        A No, no. It was – it was before – before the termination, like, -- like when I first wrote to
        Perry about it, I feel like I’m being discriminated, it was – I don’t know if it was like a
        year before or months before my termination, but I – I had brought it t their attention
        that I feel like I’m being discriminated.

(Morales Dep. 225:21 – 226:11) (emphasis added).
        As stated earlier, Morales has failed to present evidence showing that FedEx’s stated

legitimate, nondiscriminatory reasons for terminating his employment, as outlined in his

termination letter, were false. Likewise, he has failed to present evidence showing a causal link

between any alleged complaints he made to management, and his termination. As a result,

Morales’ retaliation claim must be dismissed.

                                       CONCLUSION

        For the foregoing reasons, FedEx requests this Court to enter an order granting its motion

for summary judgment against Plaintiff Hector Morales, dismissing all claims and granting FedEx

such other and further relief to which it may be entitled.




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DATED: May 27, 2022

                                            Respectfully submitted,


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